









Dismissed and Opinion filed May 29, 2003









Dismissed and Opinion filed May 29, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00487-CR

____________

&nbsp;

BRADFORD PLEASANT, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 177th District Court

Harris County, Texas

Trial
Court Cause No. 911,913

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of
robbery.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, on March 25, 2003, the trial court
sentenced appellant to confinement in the Institutional Division of the Texas
Department of Criminal Justice for fifteen years.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed May 29, 2003.

Panel consists of Chief Justice
Brister and Justices Fowler and Edelman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





